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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION


YETI Coolers, LLC,

        Plaintiff,                                   Civil Action No. 1:17-cv-00109-RP

       v.                                            Judge Robert L. Pitman

Glacier Coolers, LLC,

   Defendant.


                                   CONSENT JUDGMENT

       Plaintiff, YETI Coolers, LLC (“YETI”), filed civil action number 1:17-cv-00109-RP in

the Western District of Texas, against defendant, Glacier Coolers, LLC (“Glacier”), asserting

claims for (1) trade dress infringement in violation of 15 U.S.C. § 1125(a); (2) trade dress

dilution in violation of 15 U.S.C. § 1125(c); (3) unfair competition and false designation of

origin in violation of 15 U.S.C. § 1125(a); (4) trade dress dilution in violation of the Texas

Business & Commerce Code § 16.103; (5) common law trade dress infringement; (6) common

law unfair competition; (7) common law misappropriation; and (8) unjust enrichment. YETI duly

served its Complaint on Glacier on February 16, 2017, and Glacier filed its Answer on April 10,

2017. Glacier now stipulates and consents to the Court’s entry of this Consent Judgment.

       NOW THEREFORE, upon consent of the parties, IT IS HEREBY ORDERED,

ADJUDGED, AND DECREED:

       1.      The Court has subject matter jurisdiction over this action pursuant to at least 15

U.S.C. § 1121(a) and 28 U.S.C. §§ 1331, 1338(a) & (b), and 1367(a).




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        2.      This Court has personal jurisdiction over Glacier and venue is proper in this

judicial district at least because, inter alia, Glacier is doing business in the State of Texas,

including in this District.

        3.      Glacier offered for sale hard cooler products that YETI accused of violating

YETI’s intellectual property rights (collectively the “Accused Hard Coolers”).

        4.      YETI owns all right, title, and interest in and to the trade dress of the YETI®

Roadie® and YETI® Tundra® coolers, including the overall look and appearance of the YETI®

Roadie® and YETI® Tundra® coolers and all common law trademark and trade dress rights in the

YETI® Roadie® and YETI® Tundra® coolers. The YETI® Roadie® and YETI® Tundra® coolers

trade dress is hereafter referred to as the “YETI Trade Dress.”

        5.      Out of respect for YETI’s product designs and rights in the YETI Trade Dress,

Glacier never sold any of the Accused Hard Coolers and agrees not to sell products like the

Accused Hard Coolers.

        6.      Glacier shall not at any time manufacture, have manufactured on its behalf, offer

to sell, sell, use, import, purchase, promote, or distribute – whether directly or indirectly – (a)

any of the Accused Hard Coolers or products with the same model names or numbers (including

the same Amazon Standard Identification Numbers, Stock Keeping Unit numbers, Universal

Product Codes, or any other identifying numbers or names), (b) any product that includes trade

dress that is confusingly similar to the YETI Trade Dress, or (c) any product that is likely to

cause confusion, mistake, or to deceive as to the affiliation, connection, or association of Glacier

with YETI, or as to the source, origin, sponsorship, or approval of the product by YETI.

        7.      Each party shall bear its own costs and attorney fees.




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       8.      This Court shall retain jurisdiction over the parties for the purpose of enforcing

the terms of this Consent Judgment.

       9.      This Consent Judgment represents a final adjudication of all claims,

counterclaims, and defenses that were, or could have been, brought between YETI and Glacier in

this case. This Consent Judgment is intended to be final and shall bind YETI and Glacier on all

issues that were or could have been litigated in this proceeding, and YETI and Glacier shall not

appeal any issue from this proceeding.

                                                    SO ORDERED:

Dated: February 8, 2018                              ___________________________
                                                    United States District Judge

Consented and Agreed to:

By: V-RKQ$:HEE-U                      By: V%DLOH\.%HQHGLFWZLWK
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